
722 S.E.2d 509 (2012)
STATE of North Carolina
v.
Chris Alan JONES.
No. 8PA11.
Supreme Court of North Carolina.
March 9, 2012.
Catherine F. Jordan, Assistant Attorney General, Attorney for Plaintiff-Appellant State of North Carolina.
Charlesena Elliott Walker, Assistant Appellate Defender, Attorney for Defendant-Appellee Jones, Chris Alan.

ORDER
JACKSON, J.
On 31 August 2011, the State filed a motion to amend the record, asking leave to include (1) a copy of the crime lab report showing a substance to be cocaine and (2) a copy of the N.C.G.S. § 90-95 notice provided to defendant's trial counsel by the District Attorney's Office on 8 September 2009 indicating an intent to introduce the report into evidence. The existence of these items was apparently not known to appellate counsel when the case was before the Court of Appeals.
Now, therefore, this Court allows the State's motion to amend the record and, on its own motion, ORDERS that the 21 December 2010 decision of the Court of Appeals is VACATED and REMANDS this matter to the Court of Appeals for reconsideration in light of the amended record.
By order of the Court in Conference, this 8th day of March, 2012.
